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                             TINITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT

I.INITED STATES OF AMERICA                              CRIMINAL NO      3:18-cR-1!    3UlAg)
       v                                                VIOLATION
                                                        18 U.S.C. $
GERRY MATTHEWS


                                         INFORMATION
                                                                               3               ,iîlll ¡8
       The United States Attorney charges:

                                         COUNT ONE
                               (Conspiracy to Commit Wire Fraud)

       At all times relevant to this Information:

                                          The Defendant

       1.      Defendant GERRY MATTHEWS ("G. MATTHEWS") was                        a   resident of

Connecticut.

       2.      G. MATTHEWS owned and operated a commercial real estate brokerage firm in

Connecticut known as Matthews Commercial Properties, LLC              ("MCP"). G. MATTHEWS
maintained a savings account for MCP at Webster Bank in Connecticut (the "MCP savings

account").

                                           EB-5 Funding

       3.      The EB-5 visa program ("EB-5 program") was a federal program by which foreign

nationals and their families were eligible to apply for lawful permanent resident status (commonly

known as a "green card") if they invested in a development project in the United States.




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       4.        The particulars of the EB-5 program varied by project and location, but relevant to

this Information, an investor was entitled to apply for a green card if, among other requirements,

(1) the investor made a $500,000 investment in a development project in the United States and (2)

that project ultimately employed ten or more individuals.

       5.        Various entities in the United States acted as middlemen between potential foreign

investors and investmentprojects. South Atlantic Regional Center, LLC ("SARC") was one such

entitybased in Palm Beach, Florida.

       6.        SARC's primary function was to advertise EB-5 projects to foreign investors,

collect funds from foreign investors that were earmarked for certain development projects, and

make that funding available to the respective development project.

                                       The Palm House Hotel

       7.        The Palm House Hotel ("PHH") was located at 160 Royal Palm V/ay, Palm Beach,

Florida.

       8.        The PHH was one development project advertised by SARC to EB-5 investors in

or around 20I2through in or around 2014.

       9.        "Developer-1," whose identity is known to the United States Attomey, was the

developer in charge of the PHH development project.

           10.   Developer-l had a lengthy history with the PHH. He originally purchased the

property in August 2006. Developer-l lost the PHH in foreclosure in 2009. In August 2013,

Developer-l reacquired control of the PHH through an entity called Palm House,            LLC.    G.

MATTHEV/S, however, was listed as owning          99%o   of Palm House, LLC. Another individual,




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who is known to the United States Attomey and referred to herein as "Minority Owner-l ," had

secured additional financing for Developer-1 and owned the remaining I%o.

                                           The Conspiracy

       1   1.   Begirrning in or about 2012 and continuing through in or about January 2018, in

the District of Connecticut and elsewhere, Developer-1, together with others known and unknown

to the United States Attorney, did willfully and knowingly combine, conspire, confederate, and

agree together and   with each other, to commit offenses against the United States, that is, to devise

and participate in a scheme and artifice to defraud and to obtain money and property by means       of

materially false and fraudulent pretenses, representations, and promises, and for the purpose of

executing and attempting to execute the scheme and artifice to knowingly transmit, and cause to

be transmitted, by means of wire communication in interstate and foreign commerce, certain

writings, signs, signals and sounds, in violation of Title 18, United States Code, Section 1343.

        12.     The purpose of the conspiracy was for Developer-l, and others known and

unknown to the United States Attorney,         to obtain money, funds, and assets and to enrich

themselves and their companies by defrauding the EB-5 investors, SARC, and others out of money

and property owned by and under the control of the EB-5 investors, SARC, and others by means

of materially false and fraudulent pretenses, representations, and promises made to EB-5 investors,

SARC, and others.

        13.     G. MATTHEWS knowingly joined the conspiracy described in paragraphs 11 and

12 atleastby in or about October 2014.




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                            The Marurer and Means of the Conspiracy

       The manner and means by which G. MATTHEWS, Developer-l, their co-conspirators,

their agents, and others known and unknown to the United States Attorney sought to accomplish

and did accomplish the objects of the conspiracy included, among others, the following:

       14.    Developer-l, his co-conspirators, agents, and others made several material

misrepresentations to SARC, prospective EB-5 investors, andlor Minority Owner-l, including that

(i) the proceeds of the loan from EB-5 investors would be used to develop the PHH; (ii) certain

well-known individuals would be on the PHH advisory board and certain well-known entertainers,

businesspeople, and politicians    "will be a part of the club"; and (iii) G. MATTHEWS         was a

member of the Palm House,LLC management team and was the 99Yo owner of the Palm House,

LLC,

       15.     Despite those misrepresentations      to the contrary, (i) Developer-l, his        co-

conspirators, agents, and others used EB-5 funding for purposes not related to the PHH project,

including for the personal gain of Developer-l and others; (ii) there was no evidence any of the

proffered well-known individuals would be on the PHH advisory board or would be members of

the club; and (iii) while G. MATTHEWS was the nominal 99% owner of Palm House, LLC,

Developer-l controlled that company and it belonged to G. MATTHEWS in name only.

       16.     Developer-l, his co-conspirators, agents, and others wired EB-5 funding from

accounts located   in   Florida   to various accounts   located   in   Connecticut, including into G.

MATTHEWS' MCP savings account. For example, on or about February 5,2014, Developer-l,

his co-conspirators, agents, and others wired $8,592.40 of EB-5 funding from an account in Florida

into MATTHEWS' MCP savings account.


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       fi.     G. MATTHEWS applied the money that had been moved into his account to

Developer-l and others' credit card debts, or moved the money into other accounts controlled by

Developer-1, his co-conspirators, agents, and others.

       18.     In or about October 2014, Minority Owner-1 and the general partner of SARC met

with G. MATTHEV/S and informed him of his            99o/o   ownership of Palm House, LLC, and that

Developer-l had been stealing money from the PHH project.

       19.     Followingthe October2014 meeting, G. MATTHEWS furtheredthe conspiracyby

taking certain steps to help Developer-l maintain control of the PHH and its money, including:

               a.     executing a power     of attorney on or about October 20, 2014 so that

       Developer-l could continue to act in G. MATTHEWS's name in control of Palm House,

       LLC;

               b.     approving a letter sent on or about October 20,2014 in G. MATTHEWS's

       name meant to oust   Minority Owner-l from his position in Palm House, LLC; and

               c.      sending an email on or about October 2I,2014 to adjust the management

       structure of Palm House, LLC.




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       All in violation of Title   18, United States Code, Section   t349.



UNITED STATES OF AMERICA



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LINITED STATES ATT



JO      T. PIERPONT, JR.
     SISTANT U.S. ATTORNEY




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